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           EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA

                    - V. -
                                                                           S8 15 Cr. 536 (PGG)
KALEIL ISAZA TUZMAN,

                              Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




                       EXPERT REPORT OF PROFESSOR ALLEN FERRELL
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                                             -2-


I.      QUALIFICATIONS

               1.     I am the Greenfield Professor of Securities Law at Harvard Law School,

where I have taught since 1998, and I am an Academic Affiliate of Compass Lexecon, an

economics consulting firm.1 I received a Ph.D. in economics from the Massachusetts Institute

of Technology with fields in econometrics and finance and a J.D. from Harvard Law School.

My Ph.D. thesis concerned the relationship between stock prices and financial disclosures.

After law school I clerked for Judge Silberman of the United States Court of Appeals for the

D.C. Circuit and Justice Kennedy of the Supreme Court of the United States.

               2.     In addition to holding the Greenfield chair at the Harvard Law School, I

am also a faculty associate at the Kennedy School of Government at Harvard, a fellow at

Columbia University’s Program on the Law and Economics of Capital Markets, a research

associate at the European Corporate Governance Institute, and a member of the editorial board

of the Journal of Financial Perspectives. I formerly was a member of the Board of Economic

Advisors to the Financial Industry Regulatory Authority (“FINRA”), an academic fellow at

FINRA, the ABA Task Force on Corporate Governance, American Law Institute Project on the

Application of U.S. Financial Regulations to Foreign Firms and Cross-Border Transactions, and

an executive member of the American Law School section on securities regulation. I was also

Chairperson of Harvard’s Advisory Committee on Shareholder Responsibility (which is

responsible for advising the Harvard Corporation on how to vote shares held by its endowment).

               3.     I have testified before the U.S. Senate Subcommittee on Securities,

Insurance and Investment and presented to, among others, the Securities and Exchange

Commission, the World Bank, International Monetary Fund, the Structured Products

Association and the National Bureau of Economic Research. I have published approximately

1
     My curriculum vitae, which describes my education, academic and professional experience
     is attached as Exhibit A.
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thirty articles in leading journals in the general area of law and finance, including on the use of

event studies and the estimation of price impact in securities litigation. I have also been an

expert witness in a number of securities cases, and my work has included conducting event

studies and assessing price impact and analyzing class certification issues. My testimony in the

last four years and academic work are summarized on my curriculum vitae, which is attached

hereto as Exhibit A.

II.      ASSIGNMENT, BACKGROUND AND SUMMARY OF OPINIONS

                  4.    I have been asked by counsel for Mr. Kaleil Isaza Tuzman to analyze and

provide expert opinion testimony concerning the loss calculations in ¶¶ 151-154 of the

Government’s Pre-Sentencing Report (the “PSR”) as they relate to Counts Four and Six of the

Indictment.2

                  5.    Count Four involves trading by Maiden Capital as part of a conspiracy to

manipulate the price of KIT digital stock. The Government’s estimate of the losses relating to

Count Four is based on the increase in market capitalization from December 30, 2008, the day

prior to the manipulation period, to September 15, 2011, the end of the manipulation period.3

This increase was then multiplied by two different estimates of the fraction of trading volume

accounted for by Maiden Capital.4 The two resulting estimates of loss are $25.2 million and

$11.5 million.5

                  6.    Count Six relates to an accounting fraud whereby fake revenue was

recorded on the books of KIT digital beginning in March 2011.6 The Government’s estimate of

the loss relating to Count Six is $31.4 million and is based on “price declines that occurred in

2.    I have not been asked to address the losses associated with Count Five.
3.    PSR ¶ 151.
4.    PSR ¶¶ 152-153.
5.    PSR ¶¶ 152-153.
6.    PSR ¶ 154.
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November 2012, once KIT Digital announced to the market that there were errors and

irregularities in its historical financial statements.”7 The PSR does not indicate whether the

Government used an event study to control for market and industry factors.8 The price

movement was then “used as a measure of inflation to estimate which investors purchased the

stock at inflated prices and then sold shares subsequent to the disclosure. The inflation period

was pegged as starting on March 17, 2011, when the company started reporting revenue from

fake contracts.”9

                  7.     I have reached the following principal conclusions:

           Other factors aside from stock manipulation affect the price of a publicly traded stock.
            These include market, industry and firm-specific factors. The Government’s method of
            calculating losses related to Count Four is flawed because it does nothing to account
            for these other factors.

           The Government’s method for estimating losses related to Count Six is flawed because,
            although an event study can identify an abnormal price movement, it cannot establish
            by itself which piece of information caused the price movement when there is a
            complex announcement.

I elaborate upon and provide the bases for these conclusions in the remainder of this report.

III.       THE GOVERNMENT’S LOSS CALCULATIONS FOR COUNT FOUR FAIL TO
           ACCOUNT FOR OTHER FACTORS ASIDE FROM MANIPULATION THAT
           AFFECT THE PRICE OF A PUBLICLY TRADED STOCK, INCLUDING
           MARKET, INDUSTRY AND FIRM-SPECIFIC FACTORS.

                  8.      The Government’s loss calculation associated with Count Four attributes

a flat percentage of the decline in market capitalization of KIT digital (either 6.14 percent or 2.8

percent) to the manipulation.10 However the Government fails to acknowledge that the

manipulation was not the only factor affecting KIT digital’s price during the period. This is



7. PSR ¶ 154.
8. PSR ¶ 154.
9. PSR ¶ 154.
10. PSR ¶¶ 152-153.
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                                                 -5-



simply demonstrated by the fact that there were many days during the charged conspiracy

period where Maiden Capital did not trade KIT Digital stock. Any stock price movement on

those dates would not be related to Maiden’s trading, but rather to other market, industry or

company-specific factors. Moreover on days where Maiden Capital did trade, there may have

been confounding information affecting the stock price that the Government’s method does not

account for, Maiden Capital may have traded only a tiny fraction of volume, or Maiden

Capital’s trading may have been in the opposite direction of the price movement.

               9.        It is well recognized that publicly traded stock prices are impacted by

market and industry factors as well as company specific factors.11 The Government’s method

of calculating losses relating to Count Four is flawed because, among other things, it fails to

account for the market, industry and company-specific factors that affected KIT digital’s price

between December 2008 and September 2011. For example:

                        Between December 31, 2008 and September 11, 2011, the S&P 500 and
                         Russell 2000 Indexes increased 34 percent and 44 percent, respectively,
                         as the economy emerged from the financial crisis and recession.12

                        KIT digital had positive earnings announcement and other company-
                         specific events.

               10.       Because the Government’s method does nothing to identify exactly

which price movements are related to manipulation or to adjust their estimate of loss for market

and industry movements13 and other unrelated company-specific news, its loss calculation does

not rely on generally accepted economic principles, and could substantially overstate the effect

11. Bradford Cornell, John I. Hirshleifer & John N. Haut, (2005), Securities Fraud Damages,
    in Patrick A. Gaughan, Robert J. Thornton (ed.) Developments in Litigation Economics
    (Contemporary Studies in Economic and Financial Analysis, Volume 87, Emerald
    Group Publishing Limited, at 31.
12. See, Bloomberg.
13. In calculating losses related to Count Six, the Government itself recognizes the importance
    of accounting for other market effects. See PSR ¶ 154.
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                                                 -6-



that Maiden’s trading had on the price of KIT Digital stock. Exhibit 3922 entitled “Maiden

Capital Trading on Maiden and Melley Identified Dates” spanning January 2009 to September

2011, documents that none of those dates had a statistically significant stock price increase.

Moreover, Exhibit B documents that the volume of Maiden’s purchases constituted just 0.9

percent of the market trading volume between January 5, 2011 and September 29, 2011. The

Government’s calculations fail to show how this level of purchase volume during this period

caused a quantifiable change in KIT Digital’s stock price for purposes of its loss calculation

relating to Count Four of the Indictment.

IV.    THE GOVERNMENT’S METHOD FOR ESTIMATING LOSSES RELATED TO
       COUNT SIX IS FLAWED BECAUSE ALTHOUGH AN EVENT STUDY CAN
       IDENTIFY AN ABNORMAL PRICE MOVEMENT, IT CANNOT ESTABLISH
       BY ITSELF WHICH PIECE OF INFORMATION CAUSED THE PRICE
       MOVEMENT, WHEN THERE IS A COMPLEX ANNOUNCEMENT.

               11.       The Government’s loss calculation related to Count Six is fundamentally

flawed because, among other reasons, the method described, if it even adjusted for market and

industry factors, only supports a conclusion that there was a price-moving event that date, but

does not distinguish which piece of information is moving the price of the stock. The disclosure

on November 21, 2012 was complex and included the following statements, among others:


                        On November 15, 2012, the Audit Committee of the Board of Directors
                         of KIT digital, Inc. (the “Company”) concluded that, because of errors
                         and irregularities identified by the Company in its historical financial
                         statements, the financial statements for (1) the years ended December 31,
                         2009, 2010 and 2011 and (2) each of the three quarters in 2009, 2010 and
                         2011 will be restated.14

                        The accounting errors and irregularities relate primarily to recognition of
                         revenue related to certain perpetual software license agreements entered



14. KIT digital Form 8-K, November 21, 2012.
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                        into by the prior management team in 2010 and 2011.15

                       The Audit Committee has also determined that certain transactions
                        entered into by the Company under the prior management team during
                        fiscal years ended December 31, 2008 through 2011 were related party
                        transactions and that additional disclosure with respect to those
                        transactions should have been included in the footnotes to the relevant
                        financial statements.16

                       [A]s a result of the restatement discussed above, there is an Event of
                        Default under the secured loan facility and the Company is in discussions
                        with the lenders.17

                       As a result of these challenges, the Company is considering a broad set of
                        strategic alternatives including financing transactions as well as other
                        strategic transactions including a sale of the Company or its assets. The
                        Company continues to examine the reduction of working capital
                        requirements to further conserve cash and may need to take additional
                        actions in the near-term, which may include additional personnel
                        reductions and suspension of certain development activities. The above
                        actions may or may not prove to be consistent with the Company's long-
                        term strategic objectives, which have shifted in the current year, as the
                        Company discontinued certain non-core assets, among other things. No
                        assurance can be given that the Company will be able to enter in to an
                        agreement for a sale of the Company or its assets or obtain financing on
                        favorable terms, if at all, or to successfully further reduce costs in such a
                        way that would continue to allow the Company to operate its business.18

                       As a result of the restatement, the Company is cancelling its 2012 Annual
                        Meeting of Stockholders.19

              12.       This complex announcement contained information unrelated to Count

Six. For example, the restatement covered periods prior to “March 17, 2011, when the




15. KIT digital Form 8-K, November 21, 2012.
16. KIT digital Form 8-K, November 21, 2012.
17. KIT digital Form 8-K, November 21, 2012.
18. KIT digital Form 8-K, November 21, 2012.
19. KIT digital Form 8-K, November 21, 2012.
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company started reporting revenue from fake contracts.”20

               13.    The literature states that when analyzing a complex announcement “it

should be noted that the abnormal return would include the effects of the event being studied as

well as any other company-specific news or events (if any) that occur in the event window.

Whenever possible, the effects of these events should be disentangled.”21 From the disclosure

in the PSR, it does not appear that the Government attempted to disentangle the stock price

effects of the multiple parts of the November 2012 disclosure. This renders the loss calculation

in the PSR with respect to Count Six unreliable.




                                                    ___________________________

                                                                   Allen Ferrell

                                                                   June 22, 2018




20. PSR ¶ 154.
21. David I. Tabak and Frederick C. Dunbar, “Materiality and Magnitude: Event Studies in the
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    Bradford Cornell, John I. Hirshleifer & John N. Haut, (2005), “Securities Fraud
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    Volume 87, Emerald Group Publishing Limited, at 37-38.
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            EXHIBIT A
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                                                                                April, 2018

                                        Allen Ferrell
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                                   Telephone: (617) 495-8961
                                 Email: fferrell@law.harvard.edu

CURRENT POSITIONS

Greenfield Professor of Securities Law, Harvard Law School

National Bureau of Economic Research, Research Associate

Member of Editorial Board, Journal of Financial Perspectives

Fellow, Columbia University’s Program on the Law and Economics of Capital Markets

Faculty Associate, Kennedy School of Government

Research Associate, European Corporate Governance Institute

EDUCATION

Massachusetts Institute of Technology, Ph.D. in Economics, 2005
Fields in econometrics and finance

Harvard Law School, J.D., 1995, Magna Cum Laude
   x   Recipient of the Sears Prize (award given to the two students with the highest grades)
   x   Editor, Harvard Law Review

Brown University, B.A. and M.A., 1992, Magna Cum Laude

PREVIOUS POSITIONS

Harvard University Fellow
Harvard Law School, 1997

Law Clerk, Justice Anthony M. Kennedy
Supreme Court of the United States; 1996 Term

Law Clerk, Honorable Laurence H. Silberman
United States Court of Appeals for the District of Columbia; 1995 Term
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COURSES TAUGHT

Contracts
Corporate Finance
Law and Finance
Securities Litigation
Securities Regulation

REFEREE FOR FOLLOWING JOURNALS

American Law and Economics Review
Journal of Corporation Finance
Journal of Finance
Journal of Financial Perspectives
Journal of Law and Economics
Journal of Law, Economics and Organization
Journal of Legal Studies
Quarterly Journal of Economics

CONSULTING AREAS

Price Impact and Securities Damages, Valuation, Mergers & Acquisitions

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            EXHIBIT B
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                                    Exhibit BE


Maiden Capital Trading on Maiden and Melley
              Identified Dates

                 Maiden Capital       Maiden Capital       Maiden Capital                     Statistically Significant
    Date           Buy Volume           Sell Volume          Net Volume              T‐Stat    Stock Price Increase?
  1/22/2009              3,166                   (29)              3,137              ‐0.41              NO
   3/9/2009             28,571               (28,571)                  0               0.04              NO
  3/10/2009                200                  (209)                 (9)              1.16              NO
  3/17/2009              3,490                     0               3,490               0.10              NO
  3/24/2009              9,700                     0               9,700              ‐0.85              NO
  3/27/2009             14,100                     0              14,100              ‐0.43              NO
   4/3/2009             21,000                     0              21,000              ‐0.26              NO
   4/8/2009             17,029                (2,900)             14,129              ‐0.12              NO
  5/21/2009                100                     0                 100               0.04              NO
  5/22/2009                700                     0                 700              ‐0.13              NO
   6/8/2009                700                (2,000)             (1,300)             ‐0.37              NO
  6/12/2009                200                     0                 200              ‐0.19              NO
  6/22/2009                200                     0                 200              ‐0.09              NO
   7/9/2009              1,200                     0               1,200              ‐0.93              NO
  7/10/2009                100                     0                 100               1.02              NO
  8/13/2009                100                  (100)                  0               0.91              NO
   9/3/2009              6,200                  (200)              6,000               0.02              NO
  12/4/2009             10,700               (10,600)                100               0.06              NO
  7/29/2010             35,700               (35,760)                (60)             ‐0.58              NO
  3/18/2011                600                  (600)                  0              ‐0.75              NO
   9/8/2011              1,950                (1,950)                  0              ‐0.11              NO
 Sources: Trial Transcript of S. Maiden and P. Melley Testimony; KIT Ex. 3937, GX 411, GX 411‐A, GX 412;
 GX 3810, GX 3831, GX 3813, GX 3814, GX 3816, GX 1529, GX 1540, GX 1549, GX 1556, GX 1564, GX 1574,
                                                                                                                          KIT EXHIBIT




                                                                                                                                              exhibitsticker.com
 GX 1575, GX 1582, GX 1595, GX 1597, GX 1598, GX 1603, GX 1614, GX 1615.


                                                                                                                              3922
                                                                                                                           15 Cr. 536 (PGG)
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                                                KIT DIGITAL, INC. ("KITD")
                                         MARKET TRADING VOLUME COMPARISON
                                      JANUARY 5, 2011 THROUGH SEPTEMBER 29, 2011



                                                                                               MAIDEN PURCHASE
                                                                                                   VOLUME
                                                                                                    0.9%




                                              REMAINING MARKET
                                              PURCHASE VOLUME
                                                    99.1%




Sources: GX 411‐A, GX 411‐B, GX 412, GX 413
